                           UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF NORTH CAROLINA
                                SOUTHERN DIVISION


Julia Paige McEntire,                              )
                                                   )
                               Plaintiff,          )
                                                   )
       v.                                          )            JUDGMENT
                                                   )
Saint James Plantation, LLC,                       )
The Budd Group, Inc.                               )          7:13-CV-166-BR
                                                   )
                                                   )
                               Defendants.         )
                                                   )

Decision by Court.

This action came before Senior United States District Judge W. Earl Britt on the defendant Saint
James Plantation, LLC’s motion to dismiss.

IT IS ORDERED, ADJUDGED AND DECREED that defendant Saint James Plantation, LLC’s
motion to dismiss is ALLOWED. Plaintiff’s claims against Saint James Plantation, LLC are
DISMISSED WITHOUT PREJUDICE and Saint James Plantation is DISMISSED from this case.


This judgment filed and entered on April 21, 2014, and served on:

Corena A. Norris-McCluney (Via CM/ECF Notice of Electronic Filing)
Michael R. Ortiz (Via CM/ECF Notice of Electronic Filing)
Heather E. Connor (Via CM/ECF Notice of Electronic Filing)
Julia Paige McEntire (Via US Mail at PO Box 356, Warsaw, KY 41095)




April 21, 2014                                         /s/ Julie A. Richards,
                                                            Clerk of Court




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